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EXHIBIT C
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4
{
W.R. GRACE & CO.
ASBESTOS PROPERTY DAMAGE
PROOF OF CLAIM FORM
ped Stns Bankry Counter he District of Delavare
Inre: W.R. Grace & Co., et al, Debtors, Case No. 01-01139 (JKF)
(Jointly Administered)
SUBMIT COMPLETED CLAIMS TO:
Claims Processing Agent
Re: W.R. Grace & Co. Bankruptcy
PO Box 1620
Faribault, MN 55021-1620
{

Printed in V.5.4.

Premlarview™ forms by NCS Pearson MW239276-2 054321

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WHO SHOULD USE THIS ASBESTOS PROPERTY DAMAGE PROOF OF CLAIM FORM

},

This Asbestos Damage Proof of Claim Form (referred to in this document as the "Form") applies only to
current claims made against Grace by or on behalf of parties who are alleging property damage with respect to
asbestos in real property owned by the party (such person is referred to in this document as the "claiming
party") from a Grace asbcstos-containing product or as a result of one of Grace's vermiculite mining, milling,
or processing facilities.

The Bar Date does not apply to Asbestos Personal Injury Claims, Settled Asbestos Claims or Zonolite Attic
Insulation Claims. Those claims will be subject to a separate claim submission process and should not be filed
at this time.

This form should not be used for Medical Monitoring Claims or Non-Asbestos Claims. Instead, separate
specialized proof of claim forms for these claims should be completed.

If you are alleging current claims against Grace with respect to asbestos in more than one (1) real property, the
claiming party should complete an Asbestos Property Damage Proof of Claim Form for each property. You
may request additional forms by calling the Claims Processing Agent at 1-800-432-1909.

GENERAL INSTRUCTIONS

This form must be signed by the claimant or authorized agent of the claimant. THIS FORM MUST BE
RECEIVED ON OR BEFORE 4:00 PM EASTERN TIME ON MARCH 31, 2003, or you forever will be
precluded from asserting your claim(s) against or receiving payment from Grace. Return your completed
form to the Claims Processing Agent, Re: W.R. Grace & Co. Bankruptcy, P.O. Box 1620, Faribault, MN
55021-1620.

If you are returning this form by mail, allow sufficient time so that this form is received on or before
March 31, 2003. Forms that are postmarked before March 31, 2003 but received after March 31, 2003 will
not be accepted. Only original forms will be accepted for filing. Forms transmitted by facsimile will not be
accepted for filing.

If you cannot fit all information in any particular section or page, please make a copy of that page before
filling it out and attach as many additional pages as needed.

If you are unable to provide any of the information required by the proof of claim form, please so specify, as
well as provide a short statement describing why such information is unavailable. If you are in the process of
obtaining such information at the time you file your proof of claim, please so advise and indicate that the
same shall be provided when obtained.

This form must be filled out completely using BLACK or BLUE ink or may be typewritten.

+ Please print clearly using capital letters only. * Do not use a felt tip pen.

+ Skip a box between words. + Do not bend or fold the pages of the form.
» Do not write outside of the boxes or blocks.

Because this form will be read by a machine, please print characters using the examples below. For optimum
accuracy, please print in capital letters and avoid contact with the edge of the character boxes.

Mark check boxes with an "X" (example at right). x INIAIM Ei IIE RI E)

Be accurate and truthful, A Proof of Claim Form is an official court document that may be used as evidence
in any legal proceeding regarding your claim. The penalty for presenting a fraudulent claim is a fine of up to
$500,000 or imprisonment for up to five years or both. 18 U.S.C. §§ 152 & 3571.

Make a copy of your completed Form to keep for your records. Send only original Forms to the Claims
Processing Agent at the following address: Claims Processing Agent, Re: W.R. Grace & Co. Bankruptcy
PO Box 1620
Faribault, MN 55021-1620.

You will receive written notification of the proof of claim number assigned to this claim once it has been
processed.

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[Tt tl 4

jee Ade eel Wake iS CT

Name of individual claimant (first, middle and last name) or business claimant
SOCIAL SECURITY NUMBER (individual Claimants): F.E.LN. (Business Claimants)

[ga-ldaddagd

Other names by which claiming party has been known (such as maiden name or married name):

PTET SE
CCE) 9 GEE

(last four digits of SSN)

GENDER: [) MALE © FEMALE =
Mailing Address:
ploal Sutin: Malin’ Stittlel aio TITTTTTITIT TTT Tit)

Street Address

Salt Wake divi it) on panna

City

USA CLUDE Tae one

The claiming party’s attorney, if any (You do not need an attorney to file this form):

Law Firm Name:

ilepdeufl Wand Grdenld Id Macrae [TTT TT

eet TCTCLLLID @ siecabisennr TTT
Gi south sisi BERS Buel HooL LEE

Salt take ity TILT) « si4ilod

i State Zip Code
Telephone: (Province) (Postal Code)

([gioia)) (s12/0'-leizlolo, -

927610) SERIAL #,
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Gera Property For Which A Claim Is Being Asserted

1.

10.

What is the address of the real property for which a claim is being asserted (referred to herein as "the property")?

al] South wlool Welse TTTITT TTI THT i is

Street Address
Salt Walked dit TITLE TTT ua lalilola)
ity tate ip Code
usa TTT Prone) (Posiah od
ounay :
_ Are you completing an Asbestos Property Damage Proof of Claim Form for any other real property other than the one

listed at "1" above?

{ik} Yes (1 No i

. Do you currently own the property listed in Question 1, above?

i Yes (J No

_ When did you purchase the property? . . loli! SEE ATTACHMENT A

Month Day Year

_ What is the property used for (check all that apply)

("] Owner occupied residence
(2 Residential rental

(C) Commercial
ia Industial Specify: @eLectrical substation _ |
{7} Other Specify: [ 1

. How many floors does the property have? 1-12

_ What is the approximate square footage of the property? SIZ, igi3io} | |

. When was the property built?

{Kj Before 1969
(} 1969 - 1973
After 1973

_ What is the structural support of the property?

(2 Wood frame

T Structural concrete i

i) Brick

fi Stee! beam/girder

2 Other Specify: [| 7

Have you or has someone on your behalf completed any interior renovations on the property which affected any asbestos
on the property?

{i Yes i] No

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2G Real Property For Which A Claim Is Being Asserted (continued)

If yes, please specify the dates and description of such renovations.

[TTT] Description | |

Year
[TL Description | |
Year
TET] Description | |
Year

I. To the best of your knowledge, have any other interior renovations been completed on the property during any other
period of time which affected any asbestos on the property?

{1 Yes fd No
If yes, please specify the dates and descriptions of such renovations. i
(TLE Description |
Year
PTE Description |
Year
PTTL Description |
Year

EA claim Category

12. For which category are you making a claim on the property?

((] Category 1: Allegation with respect to asbestos from a Grace product in the property
(€ Category 2: Allegation with respect to one of Grace's vermiculite mining, milling or processing operations

Category 1 Claim: Allegation With Respect To Asbestos From A Grace Product In The Property

13, For what alleged asbestos-containing product(s) are you making a claim?
(J Monokote-3 fireproofing insulation
{] Other Specify: |

(For a list of the brand names under which Grace manufactured products that may have contained commercially added
asbestos, see Exhibit 2 to the Claims Bar Date Notice provided with this Proof of Claim Form.)

14. When did you or someone on your behalf install the asbestos containing product(s) in the property?

[TE C1 did not install the product(s) H

Year

15. FHyou or someone on your behalf did not install the asbestos containing product(s), to the best of your knowledge, when
was/were the product(s) installed?

[TTT] (1 Don't know.

Year

9276103 SERIAL #,
19.

20.

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23.

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. Do you have documentation relating to the purchase and/or installation of the product in the property?

7 Yes CT] No

If Yes, attach all such documents. If the documents are too voluminous to attach, attach a summary of the documents indicating
the name of each document, date of each document, a brief description of the document, the location of the document, and who
has possession and control of the document.

If you provide a summary of documents rather than the documents themselves, you are required to consent to the production and
release of those documents to Grace upon Grace's further request.

. If you do not have any such documents, explain why not and indicate who may have possession or control of such a

documents with respect to the property.

_ When did you first know of the presence of asbestos in the property of the Grace product for which you are making this claim?

LIT

Year

Please attach all documents relating or referring to the presence of asbestos in the property for which you are making this claim.
If the documents are too voluminous to attach, attach a summary of the documents indicating the name of each document, date
of each document, a brief description of the document, the location of the document, and who has possession and control of the
document.

If you provide a summary of documents rather than the documents themselves, you are required to consent to the production and
release of those documents to Grace upon Grace's further request.

How did you first learn of the presence of asbestos in the property of the Grace product for which you are making this claim?

|
|

When did you first learn that the Grace product for which you are making this claim contained asbestos?

LIL .

Year

How did you first lea that the Grace product for which you are making the claim contained asbestos?

. Have you or someone on your behalf made an effort to remove, contain and/or abate the Grace product for which you are

making this claim?
im Yes (] No
If Yes, attach all documents relating or referring to such efforts. |f the documents are too voluminous to attach, attach a summary

of the documents indicating the name of each document, date of each document, a brief description of the document, the Jocation
of the document, and who has possession and control of the document.

If you provide a summary of documents rather than the documents themselves, you are required to consent to the production and
release of those documents to Grace upon Grace's further request.

If you do not have any such documents, explain why not and indicate who may have possession and control of such
documents with respect to the property.

If you or someone on your behalf did not make an effort to remove, contain and/or abate the Grace product(s) for which
you are making a claim, to the best of your knowledge, did anyone else make such an effort?

‘7 Yes [No
9276104 SERIAL #,

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25. If you responded Yes to question 22. or 24. and you have not supplied documents, please specify the dates and
descriptions of any such efforts.

Description [ |
Year

(TL Description f |

Year

PTL Description |

Year

26, Have you or anyone on your behalf ever conducted any testing or sampling for the presence of asbestos or other particulates
in the property?

T] Yes [] No

27. If you responded Yes to question 26., but you have not provided documents, indicate who may have possession or
control of such testing documents or where such documents may be located.

28. If you or someone on your behalf did not conduct any testing or sampling for the presence of asbestos or other
particulates on the property, to the best of your knowledge, did anyone else conduct such testing or sampling with respect
to the property?

1 Yes C} No

29. If you responded Yes to question 26. or 28. and you have not supplied related documents, please describe when and by
whom and the type of testing and/or sampling (c.g. air, bulk and dust sampling).

(TL Company/Individual |

Year

Type of testing: |
PTL Company/Individual |

Year Type of testing: [

(TT Company/Individual |

Year Type of testing: [

PL SLL LL Ld

30. Has the Grace product or products for which you are making this claim ever been modified and/or disturbed? w
CJ Yes [] No

31. If yes, specify when and in what manner the Grace product or products was modified and/or disturbed?

TT Description | |

Year

(TT Description [ |
Year

PT Description [ |
Year

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oOo Claim: Allegation With Respect To One of Grace's Vermiculite Mining, a

32.
33.
34.
35.
}
a

_ Milling Or Processing Operations

What is the business address or location of the Grace operation which has led to your claim?

drniduiite Hnternidunitiaii Trisuillattilon PET ty

Business Name

modrosL| Baal West ido dud TTT TT

Street Address
Gale] bakel Chey TIT TI TTI (ui (si4itiol1
City State Zip Code
Gea TOLLE ILO TTT TTT (Prone) (Pasal Coa)
Country
If your claim relates to a personal residence, does (or did) anyone living in the household work for Grace?
TC) Yes ij No
a

If yes, specify the following for each such individual:
Name of Individual Working at Grace Operation Name of Individual Working at Grace Operation
PLLELLLLLLL TL | LETTE TT
Date of Birth Date of Birth
-L- Year LUE Year
Occupation(s) of Individual Occupation(s) of Individual
MELLEL TEER IT LTT AT |
Dates Worked at Operation Dates Worked at Operation
From: To: | | | From: | | | To: | | |

Year Year Year Year
Name of Individual Working at Grace Operation Name of Individual Working at Grace Operation
CELT ELLE LTE LITT
Date of Birth Date of Birth
-O- Year (L)-C- Year
Occupation(s) of Individual Occupation(s) of Individual
MELLEL LEE TTT ETT
Dates Worked at Operation Dates Worked at Operation
From: | | To: | | | From: | | | To:| | | |

Year Year Year Year
When did you first know of the presence of asbestos on your property? 2iolol2' a

Year
9276106 SERIAL #,
36.

37.

38.

39.

40.

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How did you first team of the presence of asbestos on your property?

See Attachment B.
|

Attach ali documents relating or referring to the presence of asbestos on the property. If the documents are too voluminous to
attach, attach a summary of the documents indicating the name of each document, date of each document, a brief description of
the document, the location of the document, and who has possession or control of the document.

If you provide a summary of the documents rather than the documents themselves, you are required to consent to the production
and release of those documents to Grace upon Grace's further request.

If you do not have any documents relating or referring to the presence of asbestos on the property, explain why not and indicate
who may have possession or control of any such documents with respect to the property.

|

Have you or anyone on your behalf made an effort to remove, contain and/or abate the asbestos on your property?
i] Yes i] No SEE ATTACHMENT C

If Yes, attach all documents relating or referring to such efforts. If the documents are too voluminous to attach, attach a summary
of the documents indicating the name of each document, date of each document, a brief description of the document, the location
of the document, and who has possession or control of the document.

If you provide a summary of the documents rather than the documents themselves, you are required to consent to the production
and release of those documents to Grace upon Grace's further request.

If you do not have any documents relating or referring to the removal, containment and/or abatement of the asbestos on your
property, explain why not and indicate who may have possession and control of such documents with respect to the property.

If you or someone on your behalf did not make an effort to remove, contain and/or abate the asbestos on your property, to the
best of your knowledge, did anyone else make such an effort? nl

7 Yes Ci No

9276107 SERIAL #;
41.

43,

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46,

47.

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If you responded Yes to question 38. or question 40. and you have not supplied related documents, please specify the dates and
descriptions of any such efforts,

PTT Description | !

Year

| | Description ; |
Year
[TL Description [ |
Year

. Have you or anyone on your behalf conducted any other testing or sampling for the presence of asbestos on

your property?
4 Yes [1 No SEE ATTACHMENT D

{f Yes, attach all documents relating or referring to such efforts. If the documents are too voluminous to attach, attach a summary
of the documents indicating the name of cach document, date of cach document, a brief description of the document, the location
of the document, and who has possession or control of the document.

If you provide a summary of the documents rather than the documents themselves, you are required to consent to the production
and release of those documents to Grace upon Grace's further request.

If you do not have any documents relating or referring to any other such testing or sampling for the presence of asbestos on your
property, explain why not and indicate who may have possession or control of such documents with respect to the property.

. If you or someone on your behalf did not conduct any other testing or sampling for the presence of asbestos on your property,

to the best of your knowledge, did anyone else conduct such testing or sampling?

i Yes {] No

If you responded Yes to question 42. or question 44. and you have not supplied related documents, please specify the dates and
descriptions of any such efforts.

ihe | Description |

Year

tt
| i Description | |
Year
| | Description [ |

Year
Were you aware of the presence of asbestos on your property when you purchased your property? i
fy Yes i<j No

If you have sold the property, were you aware of the presence of asbestos on your property when you sold your property?
i") Yes C] No ((} Not Applicable, have not sold the property

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(a wrropuction

1. Has any asbestos-related property damage lawsuit or claim been filed against Grace on behalf of this claiming party
relating to the property for which you are making this claim?
fz No a
Ct Yes - lawsuit
[J Yes — non-lawsuit claim (other than a workers' compensation claim)

vn

Has any asbestos-related property damage lawsuit or claim been filed against any other party on behalf of this
claiming party relating to the property for which you are making this claim?

t No

£J Yes — lawsuit

2 Yes — non-lawsuit claim (other than a workers’ compensation claim)

Ifan asbestos-related property damage lawsuit has been filed by or on behalf of this claiming party relating
to the property for which you are making a claim, complete Section B. below.

Uf an asbestos-related property damage non-lawsuit claim has been made by or on behalf of this claiming
party relating to the property for which you are making a claim, complete Section C. an the following page.

Ea Lawsurrs
1. Please provide the following information about each asbestos-related property damage lawsuit which has been filed
relating to the property for which you are making this claim or attach a copy of the face page of each complaint filed.
a. Caption | |

b Cour whee suitargianysess|_| | | | CETL TTT) ooetetnoe TIT TTTT

c. Date filed: {| - [|| - | .

Month Day Year

a. Caption

b. Court where suit oiginanly tted:| | | | | | | ro PETTY | pecker: | | PEP PET TY

County/State

c. Date filed: [| ]- TT -LLL

Month Day Year

a. Caption |
b. Court where suit originally filed: | | | | | | | | | | | | | | Docket No.: | | | | | | | [ | |
County/State
c. Date filed: rT 1-(7 -|
Month Day Year Hl

(Attach additional pages if necessary.)

9276109 SERIAL #,
-

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(ea) Non-LawsuIT CLAIMS a

1, If the claiming party has made any claims relating to the property for which you are making a claim (including
administrative claims) against anyone, that was not filed with a court of Jaw, please provide the following information
for each claim:

a. Description of claim: [ |

b. Date submitted: TT] - [Ty] - (TTT a ,

Month Day Year
c. Name of entity to whom claim was submitted:

£.] Grace
Cl Other | |
Name of Entity
a, Description of claim: [" |
b. Date submitted: [T] - [T] ™ PTT
Month Day Year i
c. Name of entity to whom claim was submitted:
7] Grace
7} Other [ |
Name of Entity
a. Description of claim: | "|

b. Date submitted:| | | - [qT] ~ PTL

Month Day Year
Name of entity to whom claim was submitted:
[7] Grace

i) Other |

a

Name of Entity

All claims must be signed by the claiming party.

| have reviewed the information submitted on this proof of claim form and all documents submitted in support of my claim. J
declare, under penalty of perjury,* that the above statements are true, correct, and not misleading.

CONSENT TO RELEASE OF RECORDS AND INFORMATION: To the extent that I have produced a summary rather than
the documents themselves as requested above or indicated who has possession and contro} of certain documents, I hereby
authorize and request that all other parties with custody of any documents or information concerning my property damage or
the information contained in this Form, upon the reasonable request of Grace or Grace's representative, with a copy to the
claiming party, disclose any and all records to Grace or to Grace's representative.

cL 2 _ _| [ab /l-[7I- bee
SIGNATURE OF CEARMANI-— Month Day Year

*The penalty for presenting a fraudulent claim is a fine up to $500,000.00 or imprisonment up to 5 years, or both,
18 U.S.C. §§ 152 & 3571.

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i Copyright & 2002 NCS Pearson, Inc. All rights resorvad.
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ATTACHMENT A

The Real Property for which PacifiCorp is asserting its claim ("Subject Property") was
purchased by PacifiCorp's predecessor company, Utah Light & Railway, in 1911. Utah Light &
Railway sold the Subject Property in 1954. PacifiCorp reacquired the Subject Property in 1984.
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ATTACHMENT B

D.36: Summary of Documents Relating or Referring to the
Presence of Asbestos on the Property

The documents relating or referring to the presence of asbestos on the property are too
voluminous to attach. A summary of relevant documents is set forth below. All documents
referred to below are in the custody of Dale Rasmussen, Associate General Counsel of
PacifiCorp, and are located at PacifiCorp's offices at the following address:

825 N.E. Multnomah, Suite 1800
Portland, OR 97232

1, Correspondence between EPA and PacficiCorp regarding investigation of Vermiculite
Intermountain Facility for possible amphibole asbestos contamination.

a. Memo from J.Ackerman (EPA) to J. Loomis (PacifiCorp), February 13,
2001.

b. PacifiCorp is still in the process of identifying relevant documents.
2. Internal PacifiCorp memoranda regarding October 14-16, 2002 sampling tests.
a. Email from D. Wilson (PacifiCorp) to J. Loomis, May 30, 2003.
b. Email from J. Loomis to J. Christensen (PacifiCorp), November 3, 2003.

c. PacifiCorp is still in the process of identifying relevant documents.
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ATTACHMENT C

D.38: Summary of Documents Relating or Referring to PacifiCorp's Efforts to
Remove, Contain and/or Abate the Asbestos on the Property

The documents relating or referring to PacifiCorp's efforts to remove, contain and/or
abate the asbestos on the property are too voluminous to attach. A summary of relevant
documents is set forth below. All documents referred to below are in the custody of Dale
Rasmussen, Associate General Counsel of PacifiCorp, and are located at PacifiCorp's offices at
the following address:

825 N.E. Multnomah, Suite 1800
Portland, OR 97232

1. Results and reports from asbestos sampling tests, performed at the Vermicuilite
Intermountain Facility on October 14-16, 2002.

a. FAX from CDM Federal Programs Corporation to J. Loomis, October 30,
2002.

b. FAX from J. McGuiggin, U.S. DOT/RSPA/Volpe Center/DTS-33, to J.
Loomis, received February 3, 2003.

c. PacifiCorp is still in the process of identifying relevant documents.
2. Internal PacifiCorp memoranda regarding October 14-16, 2002 sampling tests.

a. E-mail from D. Wilson to J. Loomis, May 30, 2003.

b. PacifiCorp is still in the process of identifying relevant documents.

3. Results and reports from asbestos sampling tests, performed at the Vermiculite
Intermountain Facility on September 22-24, 2003.

a. PacifiCorp is still in the process of identifying relevant documents,
4. Internal PacifiCorp memoranda regarding September 22-24, 2003 sampling tests.
a. PacifiCorp is still in the process of identifying relevant documents.

5. Results and reports from asbestos sampling tests, performed at the Vermiculite
Intermountain Facility in November/December, 2003.

a. Letter from D. Roskelley of Reservoirs Environmental, Inc. to PacifiCorp,
December 8, 2003.

b. Letter from S. Dixon of Dixon Information Inc. to D. Roskelley,
December 8, 2003.
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c. PacifiCorp is still in the process of identifying relevant documents.
6. Internal PacifiCorp memoranda regarding December, 2003 sampling tests.

a. PacifiCorp is still in the process of identifying relevant documents.
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ATTACHMENT D

D.42; Summary of Documents Relating or Referring to PacifiCorp's Efforts to
Conduct Testing or Sampling For the Presence of Asbestos on the Property

The documents relating or referring to PacifiCorp's efforts to conduct testing or sampling
for the presence of asbestos on the property are too voluminous to attach. A summary of
relevant documents is set forth below. All documents referred to below are in the custody of
Dale Rasmussen, Associate General Counsel of PacifiCorp, and are located at PacifiCorp's
offices at the following address:

825 N.E. Multnomah, Suite 1800
Portland, OR 97232

1. Correspondence between EPA and PacifiCorp regarding cleanup of the Vermiculite
Intermountain Facility Site.

a. E-mail from Floyd Nichols (EPA) to J. Loomis, January 26, 2004.
b. PacifiCorp is still in the process of identifying relevant documents.

2. Documents relating to safety precautions taken by PacifiCorp for purposes of protecting
PacifiCorp employees from amphibole asbestos exposure.

a. E-mail from J. Loomis to J. Christensen (PacifiCorp), November 3, 2003.

b. Letter from American Asbestos Abatement to J. Christensen, January 29,
2004.

c. Letter from PacifiCorp to PacifiCorp/Utah Power Retirees, May 26, 2004.
d. PacifiCorp is still in the process of identifying relevant documents.

3. Documents relating to formation of the Administrative Order on Consent ("AOC")
between EPA and PacifiCorp, including EPA memoranda.

a. Letter from EPA to D. Wilson, June 7, 2004.

b. PacifiCorp is still in the process of identifying relevant documents.
4, AOC (July 29, 2004)
5. Documents relating to PacifiCorp's removal action performed under the AOC.

a. Work Plan

b. Health and Safety Plan

c. Quality Assurance and Sampling Reports
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d. Progress reports to EPA.
e. E-mail from F. Nichols to D. Wilson, August 2, 2004.
f. PacifiCorp is still in the process of identifying relevant documents.

6. Documents relating to costs incurred by PacifiCorp in performing the removal action. A
summary of such documents and costs is attached hereto as Attachment D.1.
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ATTACHMENT D.1

Summary of Documents and Costs Relating to Costs PacifiCorp
Has Incurred in Cleaning Up the Subject Property

SL 96845.1 01515 00001 1/6/2005 01:44pm
Invoice #
4536

4536

4574

4610

4640

4656

4708

Invoice #
4536
4574
4610
4640
4656
4708

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Cost Estimate of Clean-up of the 3rd West Substation 12/9/04

Backhoe Excavation

Description
Initial 1500 yds excavation + set-up @ $161.49(.75)/yd
1500 yds backfill @ $161.49(.25)/yd
817 yds excavated @ $134.50(.75)/yd
817 yds backfill @ $134.50(.25)/yd
1547 yds excavated @ $134.50(.75)/yd
1547 yds backfill @ $134.50(.25)/yd
3244 yds excavated @ $139.50(.75)/yd
3244 yds backfill @ $139.50(.25)/yd
2482 yds excavated @ $139.50(.75)/yd
2482 yds backfill @ $139.50(.25)/yd
3740 yds excavated @ $139.50(.75)/yd
3740 yds backfill @ $139.50(.25)/yd
2006 yds excavated @ $139.50(.75)/yd
2006 yds backfill @ $139.50(.25)/yd
1000 yds excavated @ $139.50(.75)/yd
1000 yds backfill @ $139.50(.25)/yd

16336 yds total
6600 yds additional backfill, due to compaction
Downtime equipment rental charges

Total for backhoe excavation

Air Mover Excavation

Description
Area north of north transformer
Area north of north transformer
UTA Substation area
UTA Substation area and east of control house
Area east of control house
Area east of control house
Completion with air mover —
Backfill energized areas

Total for air mover excavation

Additional costs
EPA
Oversight (Future Response Costs)
Clean-up of contamination at property edge

Total EPA

Internal and Reports

PERCo (Site history)

PERCo work remaining

Misc, Expenses (DNW travel, etc.)

Amount
$181,676.25
$60,558.75
$82,414.88
$27,471.63
$156,053.63
$52,017.88
$339,403.50
$113,134.50
$259,679.25
$86,559.75
$391,297.50
$130,432.50
$209,877.75
$69,959.25
$334,800.00
$111,600.00

$2,606,937.02
$230,208.00
$3,575.00

$2,840,720.02

Amount

$2,923.76
$27,246.82
$16,709.64
$23,509.71
$20,015.02
$32,373.47
$220,000.00
$72,000.00

$414,778.42

$200,000.00
$200,000.00

$22,305.64
$25,000.00
$200,000.00

Status

Paid

Work not done yet
Paid

Work not done yet
Paid

Work not done yet
Paid

Work not done yet
Paid

Work not done yet
Paid

Work not done yet

Billed, Not Paid

Work not done yet

Work not done yet

Work not done yet

Work not done yet

Billed, Not Paid

Status

Paid

Paid

Paid

Paid

Paid

Billed, Not Paid

Work not done yet
Work not done yet

Not billed yet
Work not done yet

$400,000.00

Paid
Work not done yet
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Substation rebuild (locates, regrounding, etc)
Total Internal and Reports

R&R Industrial Hygiene Consultant
2056 March '04 Work Plan prep
2100 May ‘04 Work Plan & Sampling Plan prep
2135 June '04 Work Plan & Sampling Plan prep
2162 July '04 plan prep and site sampling
2173 August '04 site documentation & sampling
2190 Sept '04 site doc, sampling, & sample analysis
2205 Oct '04 site doc, sampling, & sample analysis
2222 Nov '04 site doc, sampling, & sample analysis

R&R work remaining
Total R&R

Thermal West (Asbestos Abatement Contractor)
9577 control house cleaning

Misc. Rentals, etc.
103195411 GE Capital (Office trailer rental, July-Aug)
103222703 GE Capital (Office trailer rental, Aug-Sept)
103257814 GE Capital (Office trailer rental, Sept-Oct)
103285795 GE Capital (Office trailer rental, Oct-Nov)
GE Capital (Office trailer, projected need)

Total GE Capital

70490 AMPCO Parking (Parking lot rental, Sept)
70551 AMPCO Parking (Parking lot rental, Oct)
70679 AMPCO Parking (Parking lot rental, Nov)
AMPCO Parking (Parking lot rental, Projected need)

Total AMPCO

1C8724 Work Care (Medical Imaging)

583228 Work Care (Employee chest x-ray & asbestos review)

584446 Work Care (Employee chest x-ray & asbestos review)

585774 Work Care (Employee chest x-ray & asbestos review)

586186 Work Care (Employee chest x-ray & asbestos review)
Work Care (Projected need)

Total Work Care

Total Additional Costs

Estimated total for project

Excavation

Invoiced and paid

Invoiced, not paid

Work performed, not yet invoiced
Estimated work remaining

Total excavation

$100,000.00

$5,837.82
$4,401.76
$3,775.00
$3,210.00
$19,309.31
$29,979.25
$41,764.25
$37,064.88

$100,000.00

$22,000.00

$258.98
$258.98
$258.98
$258.98
$900.00

$2,135.00
$2,135.00
$2,135.00
$6,500.00

$614.00
$302.00
$218.00
$501.00
$151.00
$5,000.00

$1,036,274.83

$4,291 ,773.27

$1,089,617.44

$245,826.22

$1,363,883.01
$2,699,326.67

$347,305.64

Paid
Paid
Paid
Paid
Paid
Paid
Paid
Paid

Work not done yet
$245,342.27

Paid

Paid
Paid
Paid
Paid
Work not done yet

$1,935.92

Paid
Paid
Paid
Work not done yet

$12,905.00

Paid
Paid
Paid
Paid
Paid
Work not done yet

$6,786.00
